         Case: 1:24-cv-02710 Document #: 72 Filed: 06/06/24 Page 1 of 2 PageID #:2475



                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

TV TOKYO CORPORATION,                                             )
                                                                  )   Case No. 24-cv-2710
             Plaintiff,                                           )
                                                                  )    Judge John J. Tharp, Jr.
v.                                                                )
                                                                  )
THE PARTNERSHIPS AND                                              )
UNINCORPORATED ASSOCIATIONS                                       )
IDENTIFIED ON SCHEDULE “A”,                                       )
                                                                  )
             Defendants.                                          )

          PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANT NO. 192

             Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff TV TOKYO
     CORPORATION hereby dismisses with prejudice all causes of action in the complaint as to the
     Defendant identified below and in Schedule A. No motions are pending relative to this Defendant. Each
     party shall bear its own attorney's fees and costs.
             No.      Defendant
             192      AA0HVLVQ7P78C

             The respective Defendant has not filed an answer to the complaint or a motion for summary
     judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
     appropriate.
                                                           Respectfully submitted,

     Dated: June 06, 2024                                  By:    s/Michael A. Hierl                _
                                                                  Michael A. Hierl (Bar No. 3128021)
                                                                  William B. Kalbac (Bar No. 6301771)
                                                                  Robert P. McMurray (Bar No. 6324332)
                                                                  Hughes Socol Piers Resnick & Dym, Ltd.
                                                                  Three First National Plaza
                                                                  70 W. Madison Street, Suite 4000
                                                                  Chicago, Illinois 60602
                                                                  (312) 580-0100 Telephone
                                                                  (312) 580-1994 Facsimile
                                                                  mhierl@hsplegal.com

                                                                  Attorneys for Plaintiff
                                                                  TV TOKYO CORPORATION
    Case: 1:24-cv-02710 Document #: 72 Filed: 06/06/24 Page 2 of 2 PageID #:2476



                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on June 06, 2024.



                                                          s/Michael A. Hierl
